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 UNITED STATES DISTRICT COURT                                                              1/12/2021
 SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
 PAMMY ANNE NICKERSON,                                                 :
                                                                       :
                                             Plaintiff,                :
                                                                       :   20-mc-00732 (ALC)
                  -against-                                            :
                                                                       :   ORDER
                                                                       :
 CHAMPION MORTGAGE COMPANY,                                            :
                                                                       :
                                             Defendant.                :
                                                                       :
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 ANDREW L. CARTER, JR., District Judge:

          Plaintiff submitted a document to this Court titled “Pammy Anne Nickerson Case

 Record” dated December 1, 2020 along with a Miscellaneous Cover Sheet purporting to initiate a

 miscellaneous case. ECF Nos. 1-2. This case does not fit into any of the miscellaneous

 categories.

          Accordingly, Plaintiff is hereby ORDERED to file this case as a civil case and pay the

 $402 filing fee or file an in forma pauperis application pursuant to 28 U.S.C. § 1915. Plaintiff

 may consider reviewing SDNY’s pro se website containing resources for pro se litigants

 (http://nysd.uscourts.gov/prose) or contacting the New York Legal Assistance Group’s

 (NYLAG) Legal Clinic for Pro Se Litigants in the Southern District of New York, which is a free

 legal clinic staffed by attorneys and paralegals to assist those who are representing themselves in

 civil lawsuits in this Court. A copy of the flyer with details of the clinic is attached to this order.

 The clinic is currently only available by telephone.




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         The Clerk of Court is directed to mail Plaintiff a copy of this order and terminate this

case.

SO ORDERED.


Dated:          January 12, 2021
                New York, New York


                                               ____________________________________
                                                     ANDREW L. CARTER, JR.
                                                     United States District Judge




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  Notice For
Pro Se Litigants
As a public health precaution, the New York
Legal Assistance Group’s Legal Clinic for Pro Se
Litigants has temporarily suspended all in-
person client meetings as of Tuesday, March 17,
2020.



Limited scope legal assistance will continue to
be provided, but only by appointment and only
over the phone. During this time, we cannot
assist walk-in visitors to the clinic.



If you need the assistance of the clinic, please
call 212-659-6190 and leave a message,
including your telephone number, and someone
will get back to you as soon as possible. If you do
not leave a message with your telephone
number, we cannot call you back.



Please be patient because our responses to your
messages may be delayed while we transition to
phone appointments.
